          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
                           1:07cr101-6

UNITED STATES OF AMERICA                                 )
                                                         )
Vs.                                                      )               ORDER
                                                         )
GINGER SUSANNE PRICE.                                    )
__________________________________                       )

      THIS MATTER is before the court on defendant’s Motion for Psychiatric

Examination to which counsel for the government concurs. Having considered that

motion, and finding under 18, United States Code, Section 4241(a), that there is

reasonable cause to believe that defendant may presently be suffering from a mental

disease or defect that may render defendant unable to understand the nature and

consequences of the proceedings, the court enters the following Order.



                                     ORDER

      IT IS, THEREFORE, ORDERED that:

      (1)   THE DEFENDANT shall be examined by at least one qualified

            psychiatrist or psychologist pursuant to 18, United States Code, Section

            4241(b) and Rule 12.2, Federal Rules of Criminal Procedure, to

            determine if the defendant, GINGER SUSANNE PRICE, is presently

            insane or otherwise so mentally incompetent as to be unable to


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      understand the criminal proceedings against him or to properly assist in

      his defense.



(2)   THE DEFENDANT, GINGER SUSANNE PRICE, shall be examined

      to determine whether at the time of the commission of the alleged

      offense GINGER SUSANNE PRICE was criminally responsible

      pursuant to 18, United States Code, Section 4242.



(3)   FOR PURPOSES OF EXAMINATION pursuant to Section 4241(b),

      defendant is committed to the custody and care of the Attorney General

      for placement in a suitable facility, and the examination shall be for such

      a reasonable time, not to exceed forty-five (45) days, as is necessary to

      make evaluations as to whether GINGER SUSANNE PRICE:

      (A)   is presently insane or otherwise so mentally incompetent as

            to be unable to understand the proceedings against him or

            to properly assist in his own defense; and

      (B)   was, at the time of the commission of the alleged offense,

            criminally responsible. 18 U.S.C. § Sections 4241(b) and 4247(b)

            and (c).

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      For purposes of determining the forty-five (45) day period, the

      examination is deemed to commence on the day defendant is admitted

      to the mental health facility.



(4)   THE WARDEN OR THE CASE MANAGER of the designated

      facility is instructed that requests for extension of the 45-day

      examination period must be in a writing mailed to the Clerk of this

      court, with copies sent to defendant’s counsel, the United States

      Attorney, and the United States Marshal.



(5)   THE PSYCHIATRIST OR PSYCHOLOGIST, as designated by the

      Attorney General to examine defendant, shall prepare a psychiatric or

      psychological report pursuant to the requirements of 18, United States

      Code, Section 4247(c).



(6)   THE PSYCHIATRIST OR PSYCHOLOGIST, as designated by the

      Attorney General, shall forward the original report to this court, a copy

      to the Clerk of this court, a copy to counsel for GINGER SUSANNE

      PRICE, and a copy to the United States Attorney.

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(7)   THE UNITED STATES MARSHAL, shall transport defendant

      GINGER SUSANNE PRICE to the mental health institution, which

      shall be designated by the Attorney General, and return defendant

      GINGER SUSANNE PRICE immediately upon completion of the

      examination to the Western District of North Carolina where bond, if

      any, may resume. The United States Marshal is permitted a total of

      10 days within which to transport GINGER SUSANNE PRICE to

      and from the mental health institution. If bond has not been allowed,

      the defendant shall remain in the custody of the United States Marshal.



(8)   THE UNITED STATES MARSHAL shall provide defendant with

      medications, if any, as prescribed by a licensed physician pending and

      during transportation to the mental health institution designated by the

      Attorney General.



(9)   COUNSEL FOR DEFENDANT is instructed that in the event

      psychiatrists or psychologists employed by the government determine

      that defendant is competent to stand trial, counsel for defendant may

      promptly, thereafter, file a motion for appointment and examination by

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      independent experts. Such a motion must be accompanied by an

      affidavit of counsel describing the "pronounced irrational behavior" of

      defendant such attorney has observed, Pate v. Robinson, 383 U.S. 375,

      385-86 (1966), averring and documenting that defendant has not been

      able to "consult with his lawyer with a reasonable degree of rational

      understanding," and showing that it is counsel's belief that defendant

      does not have a "rational as well as factual understanding of the

      proceedings against him." Penry v. Lynaugh, 492 U.S. 302, 333 (1989).

      The filing of such a motion will not be cause for continuance from a trial

      calendar and motions which are not filed in good faith may result in the

      imposition of sanctions.



(10) In the event mental health professionals at the designated federal facility

      determine that defendant is presently insane or not competent to stand

      trial and that defendant was not criminally responsible at the time of the

      alleged offense, the PSYCHIATRIST OR PSYCHOLOGIST at the

      designated facility shall conduct such further tests as may be appropriate

      to determine whether defendant’s release into the community would

      create a substantial risk of bodily injury to another person or serious

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             damage of property of another due to a present mental disease or defect.

             18 U.S.C. Sect. 4243(e). The results of such testing and the conclusions

             drawn therefrom should be appended to and sent along with the

             psychological report.



      THE CLERK OF COURT is directed to certify copies of this Order to

counsel for defendant, the United States Attorney, the United States Marshal, and the

designated mental health facility also in the care of the United States Marshal.



      This Order is entered in response to defendant’s Motion for Psychiatric

Evaluation (oral motion).



                                         Signed: January 16, 2008




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